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   1   MARA W. ELLIOTT, City Attorney
       PAIGE E. FOLKMAN, Assistant City Attorney
   2   DAVID E. MILLER, Deputy City Attorney
       California State Bar No. 174469
   3         Office of the City Attorney
             Community Justice Division/Nuisance Abatement Unit
   4         1200 Third Avenue, Suite 700
             San Diego, California 92101-4103
   5         Telephone: (619) 533-5500
             Fax: (619) 533-5505
   6         MillerDE@sandiego.gov
   7 Attorneys for Plaintiffs
   8 The People of the State of California

   9                      UNITED STATES DISTRICT COURT
  10                    SOUTHERN DISTRICT OF CALIFORNIA
  11   THE PEOPLE OF THE STATE OF        CASE NO. 3:23-cv-01296-LAB-DDL
  12
       CALIFORNIA and CITY OF SAN
       DIEGO, a municipal corporation,   PLAINTIFFS’ NOTICE OF EX
  13                                     PARTE APPLICATION AND EX
                   Plaintiffs,           PARTE    APPLICATION FOR
  14                                     ORDER DEFERRING BRIEFING
              v.                         AND HEARING ON
  15                                     DEFENDANTS’ MOTION FOR
                                         RULE 41(d) AWARD OF FEES
  16
       CAYDON SAN DIEGO PROPERTY         AND COSTS PENDING
       LLC, a Delaware Limited Liability DETERMINATION OF
  17   Company;                          JURISDICTION
       CAYDON USA HOLDING LLC, a
  18   Texas Foreign Limited Liability   [Filed concurrently with Declaration
       Company and a Delaware Limited    of David E. Miller]
  19   Liability Company;
       CAYDON USA PROPERTY GROUP,        Date Filed: June 12, 2023
  20   LLC, a Delaware Limited Liability Removal Date: July 14, 2023
       Company;
  21   MATTHEW HUTTON, Receiver and      Judge: Hon. Larry A. Burns
       Manager of CAYDON USA PROPERTY Courtroom: 14A
  22   GROUP HOLDINGS PTY LTD;
       ALEX BEATON, an individual; and
  23   DOES 1 through 50, inclusive,
  24
                  Defendants.
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   1                                             I.
   2                                    BACKGROUND
   3           On April 27, 2023, Plaintiffs, the People of the State of California and the
   4   City of San Diego, filed a civil enforcement action against Caydon San Diego
   5   Property LLC, Caydon USA Holding LLC, Caydon USA Property Group, LLC,
   6   and Matthew Hutton in the Superior Court of California, County of San Diego, as
   7   Case No. 37-2023-00017820-CU-MC-CTL (Original Action).
   8         On June 1, 2023, Defendants Caydon San Diego Property LLC, Caydon
   9   USA Holding LLC, and Caydon USA Property Group, LLC removed this action to
  10   the United States District Court citing diversity jurisdiction, despite extensive case
  11   law establishing that the Original Action filed on behalf of the People of the State
  12   of California as expressly authorized under California Code of Civil Procedure
  13   section 731 was not removable based on diversity jurisdiction.
  14         After learning that the Original Action had been removed to federal court,
  15   Plaintiffs conducted further investigation and recognized that an additional
  16   defendant, Alex Beaton, should have been named in the Original Action. For
  17   multiple reasons, including those identified in paragraph 6 of the Declaration of
  18   David E. Miller in Support of Plaintiffs’ Ex Parte Application for Order Deferring
  19   Briefing (Miller Decl.) and Plaintiffs’ upcoming Motion to Remand, Plaintiffs filed
  20   a Notice of Voluntary Dismissal Pursuant to Federal Rule of Civil Procedure
  21   41(a)(1) on June 9, 2023.
  22         On June 12, 2023, Plaintiffs refiled their case in the Superior Court of
  23   California, County of San Diego, naming Alex Beaton as an additional defendant
  24   (Case No. 37-2023-00024446-CU-MC-CTL). All Defendants, excepting Matthew
  25   Hutton, a resident of Australia, have been properly served. The Hague Convention
  26   establishes a method of serving residents of Australia. The process typically takes
  27   five months.
  28   . . . . .
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   1         On July 14, 2023, Defendants Caydon San Diego Property LLC, Caydon
   2   USA Holding LLC, Caydon USA Property Group, LLC, and Alex Beaton
   3   (Defendants) improperly removed the case to federal court. Subsequently,
   4   Defendants filed a Motion for Federal Rule of Civil Procedure 41(d) Award of
   5   Fees and Costs (Defendants’ Motion for Fees), to which a reply is due on August
   6   4, 2023. A hearing on Defendants’ Motion for Fees is set for August 18, 2023, at
   7   1:30 p.m. in Courtroom 14A.
   8         Plaintiffs believe that Defendants’ Motion for Fees is premature as
   9   jurisdiction must first be established. By this Application, Plaintiffs request that
  10   Plaintiffs’ deadline to respond to and hearing on Defendants’ Motion for Fees be
  11   deferred until after a Motion to Remand is heard and jurisdiction established. A
  12   Motion to Remand is forthcoming.
  13         Plaintiffs have made no previous requests for a continuance and no case
  14   management dates have been set.
  15                                             II.
  16                                  STATEMENT OF FACTS
  17         On July 27, Plaintiffs’ counsel sent an email to defense counsel requesting a
  18   stipulation to stay Defendants’ Motion for Fees pending a determination of
  19   jurisdiction. Miller Decl. ¶ 11 and Exhibit 1.
  20         On July 28, 2023, Plaintiffs’ counsel sent another email to defense counsel,
  21   asking:
  22         Are you willing to stipulate to holding all further briefings and hearing on
             your Motion for Fees and Costs until after the Court’s ruling on the Motion
  23         to Remand. If remand is denied, I plan to request 14 days from the entry of
             the Court’s Order denying the Motion to Remand to respond to your Motion
  24         for Fees and Costs.
  25   Miller Decl. ¶ 12 and Exhibit 2. Defense counsel responded shortly thereafter that
  26   she was consulting with her client. She asked that Plaintiffs “[p]lease hold on your
  27   ex parte until I can get back to you as we may be able to obviate the issue or come
  28   up with an alternate solution.” Miller Decl. ¶ 13 and Exhibit 3. Plaintiffs’ counsel
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   1   responded three minutes later, writing that he would hold off filing the ex parte
   2   motion as requested. Id.
   3         On July 31, 2023 at 2:32 p.m., defense counsel conveyed that Defendants
   4   were amenable to “continu[ing] the hearing date and briefing schedule on
   5   [Defendants’ Motion for Fees].” Miller Decl. ¶ 14 and Exhibit 4. However,
   6   Defense counsel believes that both Defendants’ Motion for Fees and Plaintiffs’
   7   Motion to Remand should be heard simultaneously. Id. Defense counsel’s belief,
   8   as stated in her July 31, 2023 email, is that the Court has authority to award fees
   9   and costs even if it determines it does not have jurisdiction to hear this case. Id.
  10   Plaintiffs disagree. To consider Defendants’ Motion for Fees before the Court
  11   establishes whether it has jurisdiction to hear this case does not make sense and
  12   would merely force another Court to make the threshold determination of
  13   jurisdiction.
  14                                             III.
  15                   LEGAL STANDARD FOR EXTENSION OF TIME
  16         Federal Rule of Civil Procedure 6(b)(1)(A) provides that “When an act may
  17   or must be done within a specified time, the court may, for good cause, extend the
  18   time . . . with or without motion or notice if the court acts, or if a request is made,
  19   before the original time or its extension expires.” “Requests for extensions of time
  20   made before the applicable deadline has passed should ‘normally… be granted in
  21   the absence of bad faith on the party seeking relief or prejudice to the adverse
  22   party.’” Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253, 1259 (9th Cir. 2010)
  23   (quoting 4B Wright & Miller, Fed. Practice and Procedure § 1165 (3d ed. 2004)).
  24   “‘Good cause’ is a non-rigorous standard that has been construed broadly across
  25   procedural and statutory contexts.” Id. (citations omitted).
  26   ///
  27   ///
  28   ///
                                                   3
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   2                     GOOD CAUSE EXISTS TO EXTEND TIME
   3      1. The Court has not determined whether it has subject matter
   4         jurisdiction.

   5         The Court addresses the issue of subject matter jurisdiction first as “[t]he
   6   requirement that jurisdiction be established as a threshold matter ‘spring[s] from
   7   the nature and limits of the judicial power of the United States’ and is ‘inflexible
   8   and without exception.’” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-
   9   95 (1998) (quoting Mansfield, C & L. M. Ry. Co. v. Swan, 111 U.S. 379, 382
  10   (1884)).
  11           “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian
  12   Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). “They possess only that power
  13   authorized by Constitution or statute, which is not to be expanded by judicial
  14   decree.” Id. (internal citations omitted). “It is to be presumed that a cause lies
  15   outside this limited jurisdiction and the burden of establishing the contrary rests
  16   upon the party asserting jurisdiction.” Id. (internal citations omitted); see also
  17   Abrego Abrego v. The Dow Chem. Co., 443 F.3d 676, 684 (9th Cir. 2006).
  18           Consistent with the limited jurisdiction of the federal courts, the removal
  19   statute is strictly construed against removal jurisdiction. Gaus v. Miles, Inc., 980
  20   F.2d 564, 566 (9th Cir. 1992), abrogated on other grounds by Dart Cherokee Basin
  21   Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014); see also Syngenta Crop
  22   Prot., Inc. v. Henson, 537 U.S. 28, 32 (2002); O’Halloran v. Univ. of Wash., 856
  23   F.2d 1375, 1380 (9th Cir. 1988). “The strong presumption against removal
  24   jurisdiction means that the defendant always has the burden of establishing that
  25   removal is proper.” Gaus, 980 F.2d at 566; see also Cnty of San Mateo v.
  26   Monsanto Co., No. 22-cv-03257, 2022 WL 19934417, at *2 (N.D. Cal. December
  27   6, 2022). “Federal jurisdiction must be rejected if there is any doubt as to the right
  28   to removal in the first instance.” Id.
                                                   4
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   1      2. Defendants’ Motion for Fees is premature until a determination of
   2         federal subject matter jurisdiction is made.

   3         Now pending before the Court is Defendants’ Motion for Fees. Plaintiffs
   4   will file a Motion to Remand. Although Defendants’ Motion for Fees is scheduled
   5   to be heard on August 18, 2023, the Court should not consider Defendants’ Motion
   6   for Fees until it first rules on whether it retains subject matter jurisdiction. Steel
   7   Co., 523 U.S. at 94-95. If the Court finds it does not have subject matter
   8   jurisdiction, Defendants’ Motion for Fees will be rendered moot. See id.
   9   Accordingly, any consideration of Defendants’ Motion for Fees before the Court
  10   rules on whether it has subject matter jurisdiction is premature.
  11         Furthermore, deferring consideration of Defendants’ Motion for Fees until
  12   after the Court rules on whether it retains subject matter jurisdiction promotes
  13   judicial economy. If the Court keeps the currently scheduled hearing date and
  14   briefing schedule for Defendants’ Motion for Fees, Plaintiffs will be required to
  15   file with the Court an opposition to Defendants’ Motion for Fees which will, in
  16   turn, trigger a reply from Defendants. The Court will then review Defendants’
  17   Motion for Fees, Plaintiffs’ Opposition, and Defendants’ Reply prior to ruling.
  18   Perhaps the Court will even hold a hearing if it deems it necessary, though
  19   unlikely. The filing of two additional briefs and related documents and review of
  20   Defendants’ Motion for Fees and responsive briefs, which will all be rendered
  21   moot if the Court finds it is without subject matter jurisdiction, does not promote
  22   the speedy and cost-effective determination of this case. See Fed. R. Civ. P. 1.
  23         Defendants may argue that they are still entitled to a hearing on their Motion
  24   for Fees and Costs even if the Court does not have jurisdiction. However,
  25   Defendants’ request for fees and costs is based solely on a claim that Plaintiffs
  26   acted improperly and in bad faith. This argument bears no weight. If and when the
  27   Court determines that it never had jurisdiction to hear the Original Action or this
  28   action, inherent in its decision will be a finding that removal itself was improper,
                                                    5
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   1   not the actions of Plaintiffs. Therefore, Defendants could not be entitled to fees
   2   when they should never have been in the federal court. There is no escaping the
   3   conclusion that jurisdiction must be determined prior to hearing Defendants’
   4   Motion for Fees.
   5      3. Defendants have agreed to defer briefing and hearing on Defendants’
   6         Motion for Fees.

   7          As mentioned above, defense counsel agreed to defer briefing and hearing
   8   on Defendants’ Motion for Fees. Though defense counsel and Plaintiffs’ counsel
   9   disagree as to whether Defendants’ Motion for Fees and Plaintiffs’ Motion to
  10   Remand should be heard simultaneously, there is agreement that the briefing
  11   schedule should be extended and the hearing postponed.
  12                                             IV.
  13                                     CONCLUSION
  14          For the reasons set forth above, Plaintiffs respectfully request that the Court
  15   grant their application and defer the hearing on Defendants’ Motion for Fees until
  16   after a hearing on Plaintiffs’ Motion to Remand. Plaintiffs further request that the
  17   Court order that responses to Defendants’ Motion for Fees be stayed and response
  18   deadlines reestablished at the time a new hearing date for Defendants’ Motion for
  19   Fees is set.
  20

  21                                           Respectfully submitted,
  22   Dated: August 2, 2023                   MARA W. ELLIOTT, City Attorney

  23

  24                                               By /s/David E. Miller
                                                      David E. Miller
  25                                                  Deputy City Attorney
  26
                                                   Attorneys for Plaintiffs
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